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                                                                                     FILED
                                                                                 IN OPEN COURT



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTJUCT OF VIRGINIA
                                                                           CLERK, U.S. DISTRICT COURT
                                   Alexandria Division                       ALEXANDRIA. VIRGINIA


                                            *
UNITED STATES OF AMERICA
                                            *
                                                    CRIMINAL NO. 1:18 Cr. 83 (TSE)(S-1)
                                            *


         V.
                                            *
                                                    COUNTS 1-5: 26U.S.C. § 7206(1); 18
                                            *
                                                    U.S.C. §§ 2 and 3551 et seq.
                                            *
                                                    Subscribing to False United States
                                            *
PAUL J. MANAFORT, JR.,                              Individual Income Tax Returns
                                            *
(Counts 1 through 5,11 through 14,and
   24 through 32)                           *
                                                    COUNTS 6-10: 26 U.S.C. § 7206(2); 18
                                            *
                                                    U.S.C. § 3551 et seq.
   and
                                            *
                                                    Assisting in the Preparation of False
                                            *
                                                    United States Individual Income
                                            *
RICHARD W. GATES III,
(Counts 6 through 10and 15 through 32)      *
                                                    COUNTS 11-14: 31 U.S.C. §§ 5314 and
                                            *
                                                    5322(a); 18 U.S.C. §§ 2 and 3551 et seq.
              Defendants.                   *
                                                    Failure To File Reports Of Foreign Bank
                                            *
                                                    And Financial Accounts
                                            *

                                            *
                                                    COUNTS 15-19: 26 U.S.C. § 7206(1);
                                            *
                                                    18 U.S.C. §§ 2 and 3551 etsea.
                                            *
                                                    Subscribing to False United States
                                            *
                                                    Individual Income Tax Returns
                                            *

                                            *
                                                    COUNT 20: 26 U.S.C. § 7206(1); 18
                                            *
                                                    U.S.C. §§ 2 and 3551 et seq.
                                            *
                                                    Subscribing to a False Amended United
                                            *
                                                    States Individual Income Tax Return
                                            *

                                                *
                                                    COUNTS 21-23: 31 U.S.C. §§ 5314 and
                                                *
                                                    5322(a); 18 U.S.C. §§ 2 and 3551 et seq.
                                                *
                                                    Failure To File Reports Of Foreign Bank
                                                *
                                                    And Financial Accounts
                                                *

                                                *
                                                    COUNT 24: 18 U.S.C. §§ 1349 and 3551
                                                *
                                                    et seq.
                                                *
                                                    Bank Fraud Conspiracy
                                                *

                                                *
                                                    COUNT 25: 18 U.S.C. §§ 1344, 2, and
                                                *
                                                    3551 et seq.
                                                *
                                                    Bank Fraud
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                                                *       COUNT 26:18 U.S.C. §§ 1349 and 3551
                                                *       et seq.
                                                *       Bank Fraud Conspiracy
                                                *


                                                *       COUNTS 27: 18 U.S.C. §§ 1344, 2, and
                                                *       3551 et seq.
                                                *       Bank Fraud
                                                *


                                                *       COUNT 28-29: 18 U.S.C. §§ 1349 and
                                                *       3551 et seq.
                                                *       Bank Fraud Conspiracy
                                                *


                                                *       COUNT 30: 18 U.S.C. §§ 1344,2, and
                                                *       3551 et seq.
                                                *       Bank Fraud
                                                Sf!


                                                *       COUNT 31: 18 U.S.C. §§ 1349 and 3551
                                                *       et seq.
                                                *       Bank Fraud Conspiracy
                                                *


                                                *       COUNT 32: 18 U.S.C. §§ 1344,2, and
                                                *       3551 et seq.
                                                *       Bank Fraud
                                                *


                                                *       FORFEITURE NOTICE
                                                *

                                                *




                               SUPERSEDING INDICTMENT


                         February 2018 Term - At Alexandria. Virginia



THE GRAND JURY CHARGES THAT:

                                          Introduction


At all times relevant to this Superseding Indictment:

1.      Defendants PAUL J. MANAFORT, JR. (MANAFORT) and RICHARD W. GATES III

(GATES) served for years as political consultants and lobbyists. Between at least 2006 and2015,
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MANAFORT and GATES acted as unregistered agents of a foreign government and foreign

political parties. Specifically, they represented the Government of Ukraine, the President of

Ukraine (Victor Yanukovych, who was President from 2010 to 2014), the Party of Regions (a

Ukrainian political party led by Yanukovych), and the Opposition Bloc (a successor to the Party

of Regions after Yanukovych fled to Russia).

2.     MANAFORT and GATES generated tens ofmillions ofdollars in income as a result oftheir

Ukraine work. From approximately 2006 through the present, MANAFORT and GATES engaged

in a scheme to hide income from United States authorities, while enjoying the use of the money.

During the first part of the scheme between approximately 2006 and 2015, MANAFORT, with

GATES' assistance, failed to pay taxes on this income by disguising it as alleged "loans" from

nominee offshore corporate entities and by making millions of dollars in unreported payments

from foreign accounts to bank accounts they controlled and United States vendors. MANAFORT

also used the offshore accounts to purchase United States real estate, and MANAFORT and

GATES used the undisclosed income to make improvements to and refinance their United States

properties.

3.     In the second part of the scheme, between approximately 2015 and at least January 2017,

when the Ukraine income dwindled after Yanukovych fled to Russia, MANAFORT, with the

assistance of GATES, extracted money from MANAFORT's United States real estate by, among

other things, using those properties as collateral to obtain loans from multiple financial institutions.

MANAFORT and GATES fraudulently secured more than twenty million dollars in loans by

falsely inflating MANAFORT's and his company's income and by failing to disclose existing debt

in order to qualify for the loans.

4.     In furtherance of the scheme, MANAFORT and GATES funneled millions of dollars in

                                                   3
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payments intonumerous foreign nominee companies andbankaccounts, opened by themandtheir

accomplices in nominee names and in various foreign countries, including Cyprus, SaintVincent

& the Grenadines (Grenadines), and the Seychelles. MANAFORT and GATES hid the existence

and ownership of the foreign companies and bank accounts, falsely and repeatedly reporting to

their tax preparers and to the United Statesthat they had no foreign bank accounts.

5.     In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

lavishlifestyle in the United States, without paying taxes on that income. MANAFORT, without

reporting the income to his tax preparer or the United States, spent millions of dollars on luxury

goods and services for himself and his extended family through payments wired from offshore

nominee accounts to United States vendors. MANAFORT also used these offshore accounts to

purchase multi-million dollar properties in the United States andto improve substantially another

property owned by his family.

6.     In furtherance ofthe scheme, GATES used millions of dollars from these offshore accounts

to pay for his personal expenses, including his mortgage, children's tuition, and interior decorating

and refinancing of his Virginia residence.

7.     In total, morethan $75,000,000 flowed through the offshore accounts. MANAFORT, with

the assistance of GATES, laundered more than $30,000,000, income that he concealed from the

United States Department of the Treasury (Treasury), the Department of Justice, and others.

GATES obtained more than $3,000,000 from the offshore accounts, income that he too concealed

from the Treasury, the Department of Justice, and others.
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                               Relevant Individuals And Entities

8.      MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and

Long Island, New York.

9.      GATES was a United States citizen. He resided in Virginia.

10.     In 2005, MANAFORT andanother partner created Davis Manafort Partners, Inc. (DMP) to

engage principally in political consulting. DMP had staff in the United States, Ukraine, and

Russia. In 2011, MANAFORT created DMP International, LLC (DMI) to engage in work for

foreign clients, in particular political consulting, lobbying, and publicrelations for the Government

of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership

solely owned by MANAFORT and his spouse. GATES worked for both DMP and DMI and

served as MANAFORT's right-hand man.

11.     The Party of Regions was a pro-Russia political party in Ukraine.                    Beginning in

approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its

interests in Ukraine, the United States, and elsewhere, including the election of its slate of

candidates. In 2010, its candidate for President, Yanukovych, was elected President of Ukraine.

In 2014, Yanukovych fled Ukraine for Russia in the wake of popular protests of widespread

governmental corruption. Yanukovych, the Party of Regions, and the Government of Ukraine

were MANAFORT, DMP, and DMI clients.

12.     MANAFORT and GATES owned or controlled the following entities, which were used in

the scheme (the MANAFORT-GATES entities):

                                        Domestic Entities


                                                                   "it   -   ' <   ' -'"-J    ' 7?*• . '   '' :
                                                                   ^Incorporation; LocationgE^>: - .

Bade LLC (RG)                             January 2012             Delaware
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Enlll^Paiher

                                      August 2008     Virginia
Daisy Manafort, LLC (PM)
                                      March 2011      Florida

Davis Manafort International LLC
                                      March 2007      Delaware
(PM)

                                      March 2005      Virginia
DMP (PM)
                                      March 2011      Florida

                                      October 1999    Delaware
Davis Manafort, Inc. (PM)
                                      November 1999   Virginia

                                      June 2011       Delaware
DMI (PM)
                                      March 2012      Florida

Global Sites LLC (PM, RG)             July 2008       Delaware

Jemina LLC (RG)                       July 2008       Delaware

Jesand Investment Corporation (PM)    April 2002      Virginia

Jesand Investments Corporation (PM)   March 2011      Florida

                                      April 2006      Virginia
John Hannah, LLC (PM)
                                      March 2011      Florida

Jupiter Holdings Management, LLC
                                      January 2011    Delaware
(RG)

Lilred, LLC (PM)                      December 2011   Florida

LOAV Ltd. (PM)                        April 1992      Delaware

MC Brooklyn Holdings, LLC (PM)        November 2012   New York

                                      January 2012    Florida
MC Soho Holdings, LLC (PM)
                                      April 2012      New York

Smythson LLC (also known as
                                      July 2008       Delaware
Symthson LLC) (PM, RG)
                                           6
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                                        Cvpriot Entities


Entity Name                              Date Created         Incorporation Location

Actinet Trading Limited (PM, RG)         May 2009             Cyprus

Black Sea View Limited (PM, RG)          August 2007          Cyprus

Bletilla Ventures Limited (PM, RG)       October 2010         Cyprus

Cavenari Investments Limited (RG)        December 2007        Cyprus

Global Highway Limited (PM, RG)          August 2007          Cyprus

Leviathan Advisors Limited (PM, RG)      August 2007          Cyprus

LOAV Advisors Limited (PM, RG)           August 2007          Cyprus

Lucicle Consultants Limited (PM, RG)     December 2008        Cyprus

Marziola Holdings Limited (PM)           March 2012           Cyprus

Olivenia Trading Limited (PM, RG)        March 2012           Cyprus

Peranova Holdings Limited (Peranova)
                                         June 2007            Cyprus
(PM, RG)

Serangon Holdings Limited (PM, RG)       January 2008         Cyprus

Yiakora Ventures Limited (PM)            February 2008        Cyprus


                                     Other Foreign Entities


Entity Name                               Date Created        Incorporation Location

Global Endeavour Inc. (also known as
                                          Unknown             Grenadines
Global Endeavor Inc.) (PM)

Jeunet Ltd. (PM)                          August 2011         Grenadines

Pompolo Limited (PM, RG)                  April 2013          United Kingdom
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13.     The Internal Revenue Service (IRS) was a bureau in the Treasury responsible for

administering the tax laws of the United States andcollecting taxes owed to the Treasury.

                                        The Tax Scheme


MANAFORT And GATES' Wiring Monev From Offshore Accounts Into The United States

14.     In order to use the money in the offshore nominee accounts of the MANAFORT-GATES

entities without paying taxes on it, MANAFORT and GATES caused millions of dollars in wire

transfers from these accounts to be made for goods, services, and real estate. They did not report

these transfers as income.


15.     From 2008 to 2014, MANAFORT caused the following wires, totaling over $12,000,000,

to be sent to the vendors listed below for personal items. MANAFORT did not pay taxes on this

income, which was used to make the purchases.

                    Transaction        Originating Account         Country of       Amount of
Payee
                        Date                  Holder              Origination       Transaction
Vendor A               6/10/2008    LOAV Advisors Limited         Cyprus                $107,000
(Home                  6/25/2008    LOAV Advisors Limited         Cyprus                 $23,500
Improvement              7/7/2008   LOAV Advisors Limited         Cyprus                 $20,000
Company in the           8/5/2008   Yiakora Ventures Limited      Cyprus                 $59,000
Hamptons, New            9/2/2008   Yiakora Ventures Limited      Cyprus                $272,000
York)
                       10/6/2008    Yiakora Ventures Limited      Cyprus                $109,000
                      10/24/2008    Yiakora Ventures Limited      Cyprus                $107,800
                      11/20/2008    Yiakora Ventures Limited      Cyprus                 $77,400
                      12/22/2008    Yiakora Ventures Limited      Cyprus                $100,000
                       1/14/2009    Yiakora Ventures Limited      Cyprus                  $9,250
                       1/29/2009    Yiakora Ventures Limited      Cyprus                 $97,670
                       2/25/2009    Yiakora Ventures Limited      Cyprus                $108,100
                       4/16/2009    Yiakora Ventures Limited      Cyprus                 $94,394
                         5/7/2009   Yiakora Ventures Limited      Cyprus                 $54,000
                       5/12/2009    Yiakora Ventures Limited      Cyprus                  $9,550
                        6/1/2009    Yiakora Ventures Limited      Cyprus                 $86,650
                       6/18/2009    Yiakora Ventures Limited      Cyprus                 $34,400
                       7/31/2009    Yiakora Ventures Limited      Cyprus                $106,000
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Payee
               Transaction     Originating Account       Country of    Amount of
                  Date                Holder             Origination   Transaction
                  8/28/2009 Yiakora Ventures Limited    Cyprus             $37,000
                 9/23/2009 Yiakora Ventures Limited     Cyprus            $203,500
                10/26/2009 Yiakora Ventures Limited     Cyprus             $38,800
                11/18/2009 Global Highway Limited       Cyprus            $130,906
                   3/8/2010 Global Highway Limited      Cyprus            $124,000
                 5/11/2010 Global Highway Limited       Cyprus             $25,000
                   7/8/2010 Global Highway Limited      Cyprus             $28,000
                 7/23/2010 Leviathan Advisors Limited Cyprus               $26,500
                 8/12/2010 Leviathan Advisors Limited Cyprus              $138,900
                   9/2/2010 Yiakora Ventures Limited    Cyprus             $31,500
                 10/6/2010 Global Highway Limited       Cyprus             $67,600
                10/14/2010 Yiakora Ventures Limited     Cyprus            $107,600
                10/18/2010 Leviathan Advisors Limited Cyprus               $31,500
                12/16/2010 Global Highway Limited       Cyprus             $46,160
                   2/7/2011 Global Highway Limited      Cyprus             $36,500
                 3/22/2011 Leviathan Advisors Limited Cyprus               $26,800
                   4/4/2011 Leviathan Advisors Limited Cyprus             $195,000
                   5/3/2011 Global Highway Limited      Cyprus             $95,000
                 5/16/2011 Leviathan Advisors Limited Cyprus                $6,500
                 5/31/2011 Leviathan Advisors Limited Cyprus               $70,000
                 6/27/2011 Leviathan Advisors Limited   Cyprus             $39,900
                 7/27/2011 Leviathan Advisors Limited Cyprus               $95,000
                10/24/2011 Global Highway Limited       Cyprus             $22,000
                10/25/2011 Global Highway Limited       Cyprus              $9,300
                11/15/2011 Global Highway Limited       Cyprus             $74,000
                11/23/2011 Global Highway Limited       Cyprus             $22,300
                11/29/2011 Global Highway Limited       Cyprus              $6,100
                12/12/2011 Leviathan Advisors Limited Cyprus               $17,800
                 1/17/2012 Global Highway Limited       Cyprus             $29,800
                 1/20/2012 Global Highway Limited       Cyprus             $42,600
                   2/9/2012 Global Highway Limited      Cyprus             $22,300
                 2/23/2012 Global Highway Limited       Cyprus             $75,000
                 2/28/2012 Global Highway Limited       Cyprus             $22,300
                 3/28/2012 Peranova                     Cyprus             $37,500
                 4/18/2012 Lucicle Consultants Limited Cyprus              $50,000
                 5/15/2012 Lucicle Consultants Limited Cyprus              $79,000
                   6/5/2012 Lucicle Consultants Limited Cyprus             $45,000
                 6/19/2012 Lucicle Consultants Limited Cyprus              $11,860
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                Transaction       Originating Account     Country of       Amount of
Payee
                    Date                 Holder          Origination       Transaction
                    7/9/2012 Lucicle Consultants Limited Cyprus                $10,800
                   7/18/2012 Lucicle Consultants Limited Cyprus                $88,000
                    8/7/2012 Lucicle Consultants Limited Cyprus                $48,800
                   9/27/2012 Lucicle Consultants Limited Cyprus               $100,000
                  11/20/2012 Lucicle Consultants Limited Cyprus               $298,000
                  12/20/2012 Lucicle Consultants Limited Cyprus                $55,000
                   1/29/2013 Lucicle Consultants Limited Cyprus               $149,000
                   3/12/2013 Lucicle Consultants Limited C3^rus               $375,000
                   8/29/2013   Global Endeavour Inc.        Grenadines        $200,000
                  11/13/2013   Global Endeavour Inc.        Grenadines         $75,000
                  11/26/2013   Global Endeavour Inc.        Grenadines         $80,000
                   12/6/2013   Global Endeavour Inc.        Grenadines        $130,000
                  12/12/2013   Global Endeavour Inc.        Grenadines         $90,000
                   4/22/2014   Global Endeavour Inc.        Grenadines         $56,293
                   8/18/2014   Global Endeavour Inc.        Grenadines         $34,660
                                                          Vendor A Total    $5,434,793
Vendor B           3/22/2011   Leviathan Advisors LimitedCyprus                $12,000
(Home              3/28/2011 Leviathan Advisors Limited Cyprus                 $25,000
Automation,        4/27/2011 Leviathan Advisors Limited Cyprus                 $12,000
Lighting and       5/16/2011 Leviathan Advisors Limited Cyprus                 $25,000
Home
                  11/15/2011 Global Highway Limited      Cyprus                $17,006
Entertainment
                  11/23/2011 Global Highway Limited      Cyprus                $11,000
Company in
                   2/28/2012 Global Highway Limited      Cyprus                 $6,200
Florida)
                  10/31/2012 Lucicle Consultants Limited Cyprus              $290,000
                  12/17/2012 Lucicle Consultants Limited Cyprus              $160,600
                   1/15/2013 Lucicle Consultants Limited Cyprus              $194,000
                   1/24/2013 Lucicle Consultants Limited Cyprus                 $6,300
                   2/12/2013 Lucicle Consultants Limited Cyprus                $51,600
                   2/26/2013 Lucicle Consultants Limited Cyprus              $260,000
                                                            United
                   7/15/2013   Pompolo Limited                                $175,575
                                                            Kingdom
                   11/5/2013   Global Endeavour Inc.        Grenadines         $73,000
                                                          Vendor B Total    $1,319,281
Vendor C           10/7/2008   Yiakora Ventures Limited     Cyprus             $15,750
(Antique Rug       3/17/2009   Yiakora Ventures Limited     Cyprus             $46,200
Store in           4/16/2009   Yiakora Ventures Limited     Cyprus              $7,400
Alexandria,        4/27/2009   Yiakora Ventures Limited     Cyprus             $65,000
Virginia)           5/7/2009   Yiakora Ventures Limited     Cyprus           $210,000
                                         10
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                  Transaction      Originating Account         Country of   Amount of
Payee
                     Date                 Holder              Origination   Transaction
                    7/15/2009   Yiakora Ventures Limited      Cyprus           $200,000
                    3/31/2010   Yiakora Ventures Limited      Cj^rus           $140,000
                    6/16/2010   Global Highway Limited        Cyprus           $250,000
                                                           Vendor C Total      $934,350
Vendor D
(Related to         2/28/2012   Global Highway Limited        Cyprus           $100,000
Vendor C)
                                                           Vendor D Total      $100,000
Vendor E            11/7/2008   Yiakora Ventures Limited      Cyprus            $32,000
(Men's Clothing      2/5/2009   Yiakora Ventures Limited      Cyprus            $22,750
Store in New        4/27/2009   Yiakora Ventures Limited      Cyprus            $13,500
York)              10/26/2009   Yiakora Ventures Limited      Cyprus            $32,500
                    3/30/2010   Yiakora Ventures Limited      Cyprus            $15,000
                    5/11/2010   Global Highway Limited        Cyprus            $39,000
                    6/28/2010   Leviathan Advisors Limited    Cyprus             $5,000
                    8/12/2010   Leviathan Advisors Limited    Cyprus            $32,500
                   11/17/2010   Global Highway Limited        Cyprus            $11,500
                     2/7/2011   Global Highway Limited        Cyprus            $24,000
                    3/22/2011   Leviathan Advisors Limited    Cyprus            $43,600
                    3/28/2011   Leviathan Advisors Limited    Cyprus            $12,000
                    4/27/2011   Leviathan Advisors Limited    Cyprus             $3,000
                    6/30/2011   Global Highway Limited        Cyprus            $24,500
                    9/26/2011   Leviathan Advisors Limited    Cyprus            $12,000
                    11/2/2011   Global Highway Limited        Cyprus            $26,700
                   12/12/2011   Leviathan Advisors Limited    Cyprus            $46,000
                     2/9/2012   Global Highway Limited        Cyprus             $2,800
                    2/28/2012   Global Highway Limited        Cyprus            $16,000
                    3/14/2012   Lucicle Consultants Limited   Cyprus             $8,000
                    4/18/2012   Lucicle Consultants Limited   Cyprus            $48,550
                    5/15/2012   Lucicle Consultants Limited   Cyprus             $7,000
                    6/19/2012   Lucicle Consultants Limited   C5^rus            $21,600
                     8/7/2012   Lucicle Consultants Limited   Cyprus            $15,500
                   11/20/2012   Lucicle Consultants Limited   Cyprus            $10,900
                   12/20/2012   Lucicle Consultants Limited   Cyprus             $7,500
                    1/15/2013   Lucicle Consultants Limited   Cyprus            $37,000
                    2/12/2013   Lucicle Consultants Limited   Cyprus             $7,000
                    2/26/2013   Lucicle Consultants Limited   Cyprus            $39,000
                     9/3/2013   Global Endeavour Inc.         Grenadines        $81,500
                                           11
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                    Transaction      Originating Account       Country of     Amount of
Payee
                       Date                 Holder             Origination    Transaction
                     10/15/2013   Global Endeavour Inc.       Grenadines          $53,000
                     11/26/2013   Global Endeavour Inc.       Grenadines          $13,200
                      4/24/2014   Global Endeavour Inc.       Grenadines          $26,680
                      9/11/2014   Global Endeavour Inc.       Grenadines          $58,435
                                                             Vendor E Total      $849,215
Vendor F              4/27/2009   Yiakora Ventures Limited     Cyprus             $34,000
(Landscaper in        5/12/2009   Yiakora Ventures Limited     Cyprus             $45,700
the Hamptons,          6/1/2009   Yiakora Ventures Limited     Cyprus             $21,500
New York)             6/18/2009   Yiakora Ventures Limited     Cyprus             $29,000
                      9/21/2009   Yiakora Ventures Limited     Cyprus             $21,800
                      5/11/2010   Global Highway Limited       Cyprus             $44,000
                      6/28/2010   Leviathan Advisors Limited Cyprus               $50,000
                      7/23/2010   Leviathan Advisors Limited Cyprus               $19,000
                       9/2/2010   Yiakora Ventures Limited     Cyprus             $21,000
                      10/6/2010   Global Highway Limited       Cyprus             $57,700
                     10/18/2010   Leviathan Advisors Limited Cyprus               $26,000
                     12/16/2010   Global Highway Limited       Cyprus             $20,000
                      3/22/2011   Leviathan Advisors Limited Cyprus               $50,000
                       5/3/2011   Global Highway Limited       Cyprus             $40,000
                       6/1/2011   Leviathan Advisors Limited Cyprus               $44,000
                      7/27/2011   Leviathan Advisors Limited Cyprus               $27,000
                      8/16/2011   Leviathan Advisors Limited Cyprus               $13,450
                      9/19/2011   Leviathan Advisors Limited Cyprus               $12,000
                     10/24/2011   Global Highway Limited       Cyprus             $42,000
                      11/2/2011   Global Highway Limited       Cj^rus             $37,350
                                                             Vendor F Total      $655,500
Vendor G               9/2/2010   Yiakora Ventures Limited     Cyprus            $165,000
(Antique Dealer      10/18/2010   Leviathan Advisors Limited Cyprus              $165,000
in New York)          2/28/2012   Global Highway Limited       Cyprus            $190,600
                      3/14/2012   Lucicle Consultants Limited Cyprus              $75,000
                      2/26/2013   Lucicle Consultants Limited Cyprus              $28,310
                                                            Vendor G Total       $623,910
VendorH               6/25/2008   LOAV Advisors Limited        Cyprus             $52,000
(Clothing Store      12/16/2008   Yiakora Ventures Limited     Cyprus             $49,000
in Beverly Hills,    12/22/2008   Yiakora Ventures Limited     Cyprus             $10,260
California)           8/12/2009   Yiakora Ventures Limited     Cyprus             $76,400
                      5/11/2010   Global Highway Limited       Cyprus             $85,000
                     11/17/2010   Global Highway Limited       Cyprus            $128,280
                                            12
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                    Transaction      Originating Account     Country of       Amount of
Payee
                       Date                 Holder           Origination      Transaction
                      5/31/2011 Leviathan Advisors Limited Cyprus                 $64,000
                     11/15/2011 Global Highway Limited      Cyprus                $48,000
                     12/17/2012 Lucicle Consultants Limited Cyprus                 $7,500
                                                          Vendor H Total         $520,440
Vendor I
(Investment            9/3/2013   Global Endeavour Inc.         Grenadines       $500,000
Company)
                                                             Vendor I Total      $500,000
Vendor J             11/15/2011   Global Highway Limited       Cyprus              $8,000
(Contractor in        12/5/2011   Leviathan Advisors Limited Cyprus               $11,237
Florida)             12/21/2011   Black Sea View Limited       Cyprus             $20,000
                       2/9/2012   Global Highway Limited       Cyprus             $51,000
                      5/17/2012   Lucicle Consultants Limited Cyprus              $68,000
                      6/19/2012   Lucicle Consultants Limited Cyprus              $60,000
                      7/18/2012   Lucicle Consultants Limited Cyprus              $32,250
                      9/19/2012   Lucicle Consultants Limited Cyprus             $112,000
                     11/30/2012   Lucicle Consultants Limited Cyprus              $39,700
                       1/9/2013   Lucicle Consultants Limited Cyprus              $25,600
                      2/28/2013   Lucicle Consultants Limited Cyprus               $4,700
                                                             Vendor J Total      $432,487
VendorK               12/5/2011   Leviathan Advisors Limited Cyprus                $4,115
(Landscaper in         3/1/2012   Global Highway Limited       Cyprus             $50,000
the Hamptons,          6/6/2012   Lucicle Consultants Limited Cyprus              $47,800
New York)             6/25/2012   Lucicle Consultants Limited Cyprus              $17,900
                      6/27/2012   Lucicle Consultants Limited Cyprus              $18,900
                      2/12/2013   Lucicle Consultants Limited Cyprus               $3,300
                                                                United
                      7/15/2013   Pompolo Limited                                 $13,325
                                                                Kingdom
                     11/26/2013   Global Endeavour Inc.         Grenadines         $9,400
                                                          Vendor K Total         $164,740
Vendor L              4/12/2012 Lucicle Consultants Limited Cyprus                $83,525
(Payments              5/2/2012 Lucicle Consultants Limited Cyprus                $12,525
Relating to Three
Range Rovers)         6/29/2012   Lucicle Consultants Limited   Cyprus            $67,655

                                                             Vendor L Total      $163,705
Vendor M             11/20/2012   Lucicle Consultants Limited  Cyprus             $45,000
                      12/7/2012   Lucicle Consultants Limited Cyprus              $21,000

                                             13
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                  Transaction      Originating Account        Country of    Amount of
Payee
                     Date                 Holder              Ongination    Transaction
(Contractor in     12/17/2012   Lucicle Consultants Limited Cyprus              $21,000
Virginia)           1/17/2013   Lucicle Consultants Limited Cyprus              $18,750
                    1/29/2013   Lucicle Consultants Limited Cyprus               $9,400
                    2/12/2013   Lucicle Consultants Limited Cyprus              $10,500
                                                          Vendor M Total       $125,650
Vendor N            1/29/2009   Yiakora Ventures Limited    Cyprus              $10,000
(Audio, Video,      3/17/2009   Yiakora Ventures Limited    Cyprus              $21,725
and Control         4/16/2009   Yiakora Ventures Limited    Cyprus              $24,650
System Home         12/2/2009   Global Highway Limited      Cyprus              $10,000
Integration and                 Global Highway Limited
                     3/8/2010                               Cyprus              $20,300
Installation
                    4/23/2010   Yiakora Ventures Limited    Cyprus               $8,500
Company in the
Hamptons, New
                    7/29/2010   Leviathan Advisors Limited    Cyprus            $17,650
York)

                                                           Vendor N Total      $112,825
Vendor O
(Purchase of
                    10/5/2012   Lucicle Consultants Limited   Cyprus            $62,750
Mercedes Benz)

                                                           Vendor O Total       $62,750
Vendor P
(Purchase of       12/30/2008   Yiakora Ventures Limited      Cyprus            $47,000
Range Rover)
                                                        Vendor P Total          $47,000
Vendor Q             9/2/2010 Yiakora Ventures Limited    Cyprus                $10,000
(Property           10/6/2010 Global Highway Limited      Cyprus                $10,000
Management         10/18/2010 Leviathan Advisors Limited Cyprus                 $10,000
Company in           2/8/2011 Global Highway Limited      Cyprus                $13,500
South Carolina)
                     2/9/2012   Global Highway Limited        Cyprus             $2,500
                                                           Vendor Q Total       $46,000
Vendor R             2/9/2011   Global Highway Limited       Cyprus             $17,900
(Art Gallery in
Florida)            2/14/2013   Lucicle Consultants Limited   Cyprus            $14,000

                                                        Vendor R Total          $31,900
Vendor S            9/26/2011 Leviathan Advisors Limited Cyprus                  $5,000
                    9/19/2012 Lucicle Consultants Limited Cyprus                 $5,000


                                           14
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                     Transaction          Originating Account           Country of     Amount of
Payee
                          Date                    Holder                Origination    Transaction
(Housekeepmg
                          10/9/2013    Global Endeavour Inc.            Grenadines         $10,000
in New York)
                                                                     Vendor S Total        $20,000


16.     In 2012, MANAFORT caused the following wires to be sent to the entities listed below to

purchase the real estate also listed below. MANAFORT did not reportthe money used to make

these purchases on his 2012 tax return.


      Property                                         Originating        Country of
                     Payee             Date                                              Amount
  Purchased                                             Account            Origin
 Howard Street    DMP
 Condominium      International        2/1/2012   Peranova                Cyprus         $1,500,000
 (New York)       LLC

                  Attorney                        Actinet Trading
 Union Street                     11/29/2012                              Cyprus         $1,800,000
                  Accoimt Of                      Limited
 Brownstone,
                  [Real Estate                    Actinet Trading
 (New York)                       11/29/2012                             C)^rus          $1,200,000
                  Attorney]                       Limited
 Arlington
                  Real Estate                     Lucicle Consultants
 House                                8/31/2012                          Cyprus          $1,900,000
                  Trust                           Limited
 (Virginia)
                                                                               Total     $6,400,000


17.     MANAFORT and GATES also disguised, as purported "loans," more than $10 million

transferred from Cypriot entities, including the overseas MANAFORT-GATES entities, to

domestic entities owned by MANAFORT. For example, a $1.5 million wire from Peranova to

DMI that MANAFORT used to purchase real estate on Howard Street in Manhattan, New York,

was recorded as a "loan" from Peranova to DMI,ratherthan as income. The following loanswere

shams designed to reduce fraudulently MANAFORT's reported taxable income.




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  Year          Payor / Ostensible         Payee / Ostensible      Country of      Total Amount
                    "Lender"                    "Borrower"          Origin          of "Loans"
                                         Jesand Investment
 2008       Yiakora Ventures Limited                               Cyprus             $8,120,000
                                         Corporation
 2008       Yiakora Ventures Limited     DM?                       Cyprus               $500,000
 2009       Yiakora Ventures Limited     DMP                       Cyprus               $694,000
 2009       Yiakora Ventures Limited     Daisy Manafort, LLC       Cyprus               $500,000
 2012       Peranova                     DMI                       Cyprus             $1,500,000
 2014       Telmar Investments Ltd.      DMI                       Cyprus              $900,000
 2015       Telmar Investments Ltd.      DMI                       Cyprus             $1,000,000
                                                                         Total       $13,214,000



18.     From 2010 to 2014, GATES caused the following wires, totaling more than $3,000,000, to

be sent to entities and bank accounts ofwhich he was a beneficial owner or he otherwise controlled.

GATES did not report this income on his tax returns.


                    Transaction        Originating Account          Country of       Amount of
      Payee
                         Date                   Holder              Origination      Transaction
Richard Gates           3/26/2010 Serangon Holdings Limited        Cyprus                 $85,000
United Kingdom          4/20/2010 Serangon Holdings Limited        Cyprus                 $50,000
Bank Account A           5/6/2010 Serangon Holdings Limited        Cyprus                $150,000
Richard Gates            9/7/2010 Serangon Holdings Limited        Cyprus                $160,000
United Kingdom
                       10/13/2010    Serangon Holdings Limited     Cyprus                 $15,000
Bank Account B
Richard Gates
United States           9/27/2010    Global Highway Limited        Cyprus                 $50,000
Bank Account C
                                                             2010 Tax Year Total         $510,000
Jemina LLC
United States            9/9/2011    Peranova                      Cyprus                 $48,500
Bank Account D
Richard Gates
United Kingdom         12/16/2011    Peranova                      Cyprus                $100,435
Bank Account B
                                                        2011 Tax Year Total              $148,935
Richard Gates           1/9/2012 Global Highway Limited       Cyprus                     $100,000
United Kingdom         1/13/2012 Peranova                     Cyprus                     $100,435
Bank Account B         2/29/2012 Global Highway Limited       Cyprus                      $28,500
                       3/27/2012 Bletilla Ventures Limited    Cyprus                      $18,745
                                                 16
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                 Transaction      Originating Account        Country of     Amount of
      Payee
                    Date                 Holder              Origination    Transaction
                   4/26/2012   Bletilla Ventures Limited    Cyprus              $26,455
                   5/30/2012   Bletilla Ventures Limited    Cyprus              $15,000
                   5/30/2012   Lucicle Consultants Limited Cyprus               $14,650
                   6/27/2012   Bletilla Ventures Limited    Cyprus              $18,745
                    8/2/2012   Bletilla Ventures Limited    Cyprus              $28,745
                   8/30/2012   Bletilla Ventures Limited    Cyprus              $38,745
                   9/27/2012   Bletilla Ventures Limited    Cyprus              $32,345
                  10/31/2012   Bletilla Ventures Limited    Cyprus              $46,332
                  11/20/2012   Bletilla Ventures Limited    Cyprus              $48,547
                  11/30/2012   Bletilla Ventures Limited    Cyprus              $38,532
                  12/21/2012   Bletilla Ventures Limited    Cyprus              $47,836
                  12/28/2012   Bletilla Ventures Limited    Cyprus              $47,836
                                                      2012 Tax Year Total      $651,448
Richard Gates      1/11/2013   Bletilla Ventures Limited    Cyprus              $47,836
United Kingdom     1/22/2013   Bletilla Ventures Limited    Cyprus              $34,783
Bank Account B     1/30/2013   Bletilla Ventures Limited    Cyprus              $46,583
                   2/22/2013   Bletilla Ventures Limited    Cyprus              $46,233
                   2/28/2013   Bletilla Ventures Limited    Cyprus              $46,583
                    3/1/2013   Bletilla Ventures Limited    Cyprus              $42,433
                   3/15/2013   Bletilla Ventures Limited    Cyprus              $37,834
                   4/15/2013   Bletilla Ventures Limited    Cyprus              $59,735
                   4/26/2013   Bletilla Ventures Limited    Cyprus              $48,802
                   5/17/2013   Olivenia Trading Limited     Cyprus              $57,798
                   5/30/2013   Actinet Trading Limited      Cyprus              $45,622
                   6/13/2013   Lucicle Consultants Limited Cyprus               $76,343
                                                             United
                    8/7/2013   Pompolo Limited                                 $250,784
                                                             Kingdom
                    9/6/2013                           Cyprus
                               Lucicle Consultants Limited                      $68,500
                  9/13/2013 Cypriot Agent              Cyprus                  $179,216
Jemina LLC         7/8/2013 Marziola Holdings Limited  Cyprus                   $72,500
United States      9/4/2013 Marziola Holdings Limited  Cyprus                   $89,807
Bank Account D   10/22/2013 Cypriot Agent              Cyprus                  $119,844
                 11/12/2013 Cypriot Agent              Cyprus                   $80,000
                 12/20/2013 Cypriot Agent              Cyprus                   $90,000
                                                 2013 Tax Year Total         $1,541,237
Jemina LLC        2/10/2014 Cypriot Agent              Cyprus                   $60,044
United States     4/29/2014 Cypriot Agent              Cyprus                   $44,068
Bank Account D    10/6/2014    Global Endeavour Inc.         Grenadines         $65,000

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                     Transaction        Originating Account           Countiyof         Amount of
      Payee
                         Date                   Holder                Origination      Transaction
Bade LLC
United States          11/25/2014    Global Endeavour Inc.           Grenadines             $120,000
Bank Account E
                                                             2014 Tax Year Total            $289,112


MANAFORT And GATES' Hiding Foreign Bank Accounts And False Filings

19.    United States citizens who have authority over certainforeign bank accounts—^whether or

notthe accounts are setup in thenames of nominees who act for their principals—^have reporting

obligations to the United States.

20.    First, the Bank Secrecy Act and its implementing regulations require United States citizens

to reportto the Treasury any financial interest in, or signatory authority over,any bank account or

other financial account held in foreign countries, for every calendar year in which the aggregate

balance of all such foreign accounts exceeds $10,000 at any point during the year. This is

commonly known as a foreign bank account report or "FBAR." The Bank Secrecy Act requires

these reports because they have a high degree of usefiilness in criminal, tax, or regulatory

investigations or proceedings. The Treasury's Financial Crimes Enforcement Network (FinCEN)

is the custodian for FBAR filings, and FinCEN provides access to its FBAR database to law

enforcement entities, including the Federal Bureau of Investigation.          The reports filed by

individuals and businesses are used by law enforcement to identify, detect, and deter money

laundering that furthers criminal enterprise activity, tax evasion, and other unlawful activities.

21.   Second, United States citizens also are obligated to report information to the IRS regarding

foreign bank accounts. For instance, in 2010, Schedule B of IRS Form 1040 had a "Yes" or "No"

boxto record an answer to the question: "At anytime during [the calendar year], did you have an

interest in or a signature or otherauthority overa financial account in a foreign country, suchas a
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bank account, securities account, or other financial account?" If the answer was "Yes," then the

form required the taxpayer to enterthe name of the foreign country in which the financial account

was located.


22.    For each year in or about and between 2008 through at least 2014, MANAFORT had

authority over foreign accounts that required an FBAR filing. Specifically, MANAFORT was

required to report to the Treasury each foreign bank account held by the foreign MANAFORT-

GATES entities noted above in paragraph 12 that bears the initials PM. No FBAR filings were

made by MANAFORT for these accounts.

23.    For each year in or about and between 2010 through at least 2013, GATES had authority

over foreign accounts that required an FBAR filing. Specifically, GATES was required to report

to the United States Treasury each foreign bank account held by the foreign MANAFORT-

GATES entities notedabove in paragraph 12that bearsthe initials RG, as wellas United Kingdom

Bank AccountsA and B noted in paragraph 18. No FBAR filings were made by GATES for these

accounts.


24.   Furthermore, in each of MANAFORT's tax filings for 2008 through 2014, MANAFORT,

with the assistance of GATES, represented falsely that he did not have authority over any foreign

bank accounts. MANAFORT and GATES had repeatedly and falsely represented in writing to

MANAFORT's tax preparer that MANAFORT had no authority over foreign bank accounts,

knowing that such false representations would result in false tax filings in MANAFORT's name.

Forinstance, on October 4,2011, MANAFORT's taxpreparer asked MANAFORT in writing: "At

any time during 2010, did you [or your wife or children] have an interest in or a signatureor other

authority over a financial account in a foreign country, such as a bank account, securities account

or other financial account?"      On the same day, MANAFORT falsely responded "NO."

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MANAFORT responded the same way as recently as October 3, 2016, when MANAFORT's tax

preparer again emailed the question in connection with the preparation of MANAFORT's tax

returns: "Foreign bank accounts etc.?" MANAFORT responded on or about the same day:

"NONE."


25.   In each of GATES' tax filings for 2010 through 2013, GATES represented falsely that he

did not have authority over any foreign bank accounts, GATES had repeatedly and falsely
represented to histaxpreparers that hehad no authority over foreign bank accounts, knowing that

such false representations would result in false tax filings. As recently as October 2017, in

preparation for hisamended 2013 taxfiling, GATES was asked byhistaxpreparer: "Did you have

any foreign assets/bank accounts during 2013 or 2014?"to which he responded "no."


                              The Financial Institution Scheme

26.   Between in or around 2015 andthe present, both dates being approximate andinclusive, in

the Eastern District of Virginia and elsewhere, MANAFORT, GATES, and others devised and

intended to devise, and executed and attempted to execute, a scheme and artifice to defraud, and

to obtain money and property, by means of false and fraudulent pretenses, representations, and

promises, from banks and other financial institutions. As part of the scheme, MANAFORT and

GATES repeatedly provided and caused to be provided false information to banks and other

lenders, among others.

MANAFORT And GATES' Fraud To Access Offshore Monev

27.   When they were flush with Ukraine funds, MANAFORT, with the assistance of GATES,

used their offshore accounts to purchase and improve real estate in the United States. When the

income from Ukraine dwindled in 2014 and 2015, MANAFORT, with the assistance of GATES,

obtained millions of dollars in mortgages on the United States properties, thereby allowing
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MANAFORTto have the benefits of liquid income without paying taxes on it. MANAFORT and

GATES defrauded the lenders in various ways, including by lying about MANAFORT's and

DMI's income, lyingabouttheir debt, and lying about MANAFORT's use of the property andthe

loan proceeds. For example, MANAFORT and GATES submitted fabricated profit and loss

statements (P&Ls) that inflated income, and they caused others to provide doctored financial

documents.

       A. The Loan From Lender A On The Union Street Prooertv

28.    In 2012, MANAFORT, through a corporate vehicle called"MC Brooklyn Holdings, LLC"

owned by him and his family, bought a brownstone on Union Street in the Carroll Gardens section

of Brooklyn, New York. He paid approximately $3,000,000 in cashfor the property. All of that

money came from a MANAFORT-GATES entity in Cyprus. After purchase of the property,

MANAFORT began renovations to transform it from a multi-family dwelling into a single-family

home. MANAFORT used proceeds of a 2015 loan obtained from a financial institution to make

the renovations. In order to obtain that loan, MANAFORT falsely represented to the bank that he

did not derive more than 50% of his income/wealth from a country outside the United States.

29.   In late 2015 through early 2016, MANAFORT sought to borrow cash against the Union

Street property from Lender A. Lender A provided greater loan amounts for "construction

loans"—^that is, loans that required the loan funds to be used to pay solely for constructionon the

property and thus increase the value ofthe property serving as the loan's collateral. The institution

would thus loan money against the expected completedvalue ofthe property, which in the case of

the Union Street property was estimated to be $8,000,000. In early 2016, MANAFORT was able

to obtain a loan of approximately $5,000,000, after promising Lender A that approximately

$1,400,000 of the loan would be used solely for construction on the Union Street property.

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MANAFORT never intended to limit use of the proceeds to construction as required bythe loan

contracts and never did. In December 2015, before the loan was made, MANAFORT wrote his

tax preparer, among others, that the "construction mortgage will allow me to pay back [another

Manafort apartment] mortgage in full. . . ." Further, when the construction loan closed,

MANAFORT used hundreds of thousands of dollars for purposes unrelated to the construction of

the property.

      B. The Loan From Lender B On The Howard Street Prooertv

30.   In 2012, MANAFORT, through a corporate vehicle called "MC Soho Holdings, LLC"

owned by himandhis family, bought a condominium on Howard Street in the Soho neighborhood

of Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase

the condominium came from MANAFORT-GATES entities in Cyprus. MANAFORT used the

property from at least January 2015 through at least August 2017 as an income-generating rental

property, charging thousands of dollarsa weekon Airbnb, among otherplaces. On his tax returns,

MANAFORT tookadvantage of the beneficial tax consequences of owning this rental property.

31.   In late 2015 through early 2016, MANAFORT applied for a mortgageon the Howard Street

condominium from Lender B for approximately $3.4 million. Because the bank would permit a

greater loanamount if the property wereowner-occupied, MANAFORT falsely represented to the

lender and its agents that it was a secondary home used as such by his daughter and son-in-law

and was not held as a rental property. In an email on January 6,2016, MANAFORT noted: "[i]n

order to have the maximum benefit, I am claiming Howard St. as a second home. Not an

investment property." Later, on January 26,2016, MANAFORT wrote to his son-in-law to advise

him that when the bank appraiser came to assess the condominium, his son-in-law should

"[r]emember, he believes that you and [MANAFORT's daughter] are living there."

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32.   MANAFORT, with GATES' assistance, also made a series of false and fraudulent

representations to the bank in order to secure the millions of dollars in financing. For example,

MANAFORT falsely represented the amount of debthe had by failing to disclose on his loan

application the existence of the Lender A mortgage onhis Union Street property. That liability

wouldhaveriskedhis qualifying for the loan. Through its own due diligence. Lender B found

evidence ofthe existing mortgage on the Union Streetproperty. As a result, Lender B wrote to

MANAFORT and GATES that the "application has the following properties as beingownedfree

& clear... Union Street," but"[b]ased onthe insurance binders thatwereceived last night, we

are showing thatthere are mortgages listed on these properties, can you please clarify[?]"

33.   To cover up the falsity of the loan application, GATES, on MANAFORT's behalf, caused

an insurance broker to provide Lender B false information, namely, an outdated insurance report

thatdidnotlistthe Union Street loan. MANAFORT and GATES knew such a representation was

fraudulent. After GATES contacted the insurance broker andasked herto provide Lender B with

false information, heupdated MANAFORT byemail onFebruary 24,2016. MANAFORT replied

to GATES, on the same day: "good job on the insurance issues."

34.   MANAFORT and GATES submitted additional false and fraudulent statements to Lender

B. For example, MANAFORT submitted 2014 DMI tax returns to support his 2016 loan

application to Lender B. Those tax returns included as a purported liability a $1.5 million loan

from Peranova. Peranova was a Cypriot entity controlled by MANAFORT and GATES. On or

aboutFebruary 1, 2012, Peranova transferred $1.5 million to a DMIaccount in the United States,

denominating thetransfer as a loan so thatMANAFORT would nothave to declare themoney as

income. MANAFORT usedthe "loan" to acquire the Howard Street property.

35.   When MANAFORT needed to obtain a loan from Lender B, the existence of the Peranova

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"loan" undermined hiscreditworthiness. As a result of the listed Peranova liability, Lender B was

not willing to make the loan to MANAFORT. To circumvent this issue, MANAFORT and

GATES caused MANAFORT's tax accountant to send to Lender B back-dated documentation that

falsely stated that the $1.5 million Peranova loan had been forgiven in 2015, and falsely inflated

income for 2015 to mask MANAFORT's 2015 drop in income.

36.    In March 2016, Lender B approved the loan in the amount of approximately $3.4 million

(the $3.4 million loan).

       C. The Loan From Lender C

37.   In approximately February 2016, MANAFORT applied for a business loan from Lender C.

MANAFORT made a series of false statements to Lender C. For example, MANAFORT

submitted a false statement of assets and liabilities that failed to disclosed the Lender A loan on

theUnion Street property andmisrepresented, among other things, the amount ofthe mortgage on

the Howard Street property.

38.   Further, in approximately March 2016, MANAFORT and GATES submitted a doctored

2015 DMI P&L that overstated DMI's 2015 income by more than $4 million. GATES asked

DMI's bookkeeper to sendhim a "WordDocument version of the 2015 P&L for [DMI]" because

MANAFORT wanted GATES "to add the accrual revenue which we have not received in order to

send to [Lender C]." The bookkeeper said she could send a .pdf version ofthe P&L. GATES then

asked the bookkeeper to increase the DMI revenue, falsely claiming that: "[w]e have $2.4m in

accrued revenue that [MANAFORT] wants added to the [DMI] 2015 income. Can you make

adjustments on your endandthenjust send mea newscanned version[?]" The bookkeeper refused

since the accounting method DMI used did not permit recording income before it was actually

received.


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39.    Having failed to secure a falsified P&L from the bookkeeper, GATES falsified the P&L.

GATES wrote to MANAFORT and another conspirator, "I am editing Paul's 2015 P&L

statement." GATES then sent the altered P&L to Lender C, which claimed approximately $4.45

million in net income, whereas the true P&L had less than $400,000 in net income.

       D. The Loan From Lender B On The Union Street Property

40.   In March 2016, MANAFORT, with the assistance of GATES and others, applied fora $5.5

million loan from Lender B on the Union Street property. As part of the loan process,

MANAFORT submitted a false statement of assets and liabilities that hid his prior loan from

Lender A on the Union Street property, among other liabilities. In addition, another conspirator

on MANAFORT's behalf submitted a falsified 2016 DMI P&L. The falsified 2016 DMI P&L

overstated DMI's income by more than $2 million, which was the amount that Lender B told

MANAFORT he needed to qualify for the loan. When the document was first submitted to Lender

B, a conspirator working at Lender B replied: "Looks Dr'd. Can't someone just do a clean excel

doc and pdf to me??" A subsequent version was submitted to the bank.

      E. The Loans From Lender D On The Bridgehampton And Union Street Properties

41.   In 2016, MANAFORT soughta mortgage on property in Bridgehampton, New York from

a financial institution. In connection with hisapplication, MANAFORT falsely represented to the

bank that DMI would be receiving $2.4 million in income later in the year for work on a

"democratic development consulting project."       To support this representation, GATES, on

MANAFORT's behalf, provided the bank with a fake invoice for $2.4 million, directed "To Whom

It May Concern," for "[s]ervices rendered per the consultancy agreement pertaining to the

parliamentary elections." The bank, unwilling to rely on the invoice to support MANAFORT's

stated 2016 income, requested additional information. The bank was unable to obtain satisfactory

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supportfor the stated income, and the loan application was denied.

42.   MANAFORT applied to a second bank, Lender D. Between approximately July 2016 and
January 2017, MANAFORT, with the assistance of GATES, sought and secured approximately
$16,000,000 in two loans from Lender D. MANAFORT used the Bridgehampton property as
collateral for one loan, and the Union Streetproperty for the other.

43.   MANAFORT and GATES made numerous false and fraudulent representations to secure

the loans. For example, MANAFORT provided the bank with doctored P&Ls for DMI for both

2015 and 2016, overstating its income by millions of dollars. The doctored 2015 DMI P&L

submitted to Lender D was the same false statement previously submitted to Lender C, which

overstated DMI's income bymore than $4million. The doctored 2016 DMI P&L was inflated by

MANAFORT by more than $3.5 million. To create the false 2016 P&L, on or about October 21,

2016, MANAFORT emailed GATES a .pdf version of the real 2016 DMI P&L, which showed a

loss of more than $600,000. GATES converted that .pdf into a "Word" document so that it could

be edited, which GATES sent back to MANAFORT. MANAFORT altered that "Word" document

by adding more than $3.5 million in income. He then sent this falsified P&L to GATES and asked

that the "Word" document be converted back to a .pdf, which GATES did and returned to

MANAFORT. MANAFORT then sent the falsified 2016DMI P&L .pdfto Lender D.

44.   In addition. Lender D questioned MANAFORT about a $300,000 delinquency on his

American Express card, which was more than 90 days past due. The delinquency significantly

affected MANAFORT's credit rating score. MANAFORT falsely represented to Lender D that

he had lent his credit card to a friend, GATES, who had incurred the charges and had not

reimbursed him. MANAFORT supplied Lender D a letter from GATES that falsely stated that



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GATES had borrowed MANAFORT's credit card to make the purchases at issue and would pay
him back by a date certain.


                                        Statutory Allegations

                                  COUNTS ONE THROUGH FTVR
                        (Subscribing to False United States Individual Income
                               Tax Returns For 2010-2014 Tax Years)

45.       Paragraphs 1 through 44 are incorporated here.

46.       On or about the dates specified below, in the Eastern District of Virginia and elsewhere,

defendant PAUL J. MANAFORT, JR., willfully and knowingly did make and subscribe, and aid

and abet and cause to be made and subscribed. United States Individual Income Tax Returns,

Forms 1040 and Schedule B, for the tax years set forth below, which returns contained and were

verified bythe written declaration ofMANAFORT that they were made under penalties ofpeijury,
and which returns MANAFORT didnotbelieve to betrue and correct as to every material matter,

inthat the returns (a) claimed that MANAFORT did not have a fmancial interest in and signature

and other authority over a financial account in a foreign country and (b) failed to report income,

whereas MANAFORT then and there well knew and believed that he had a financial interest in,

and signature and other authority over, bank accounts in a foreign country and had earned total

income in excess of the reported amounts noted below:


 COUNT           TAX        APPROX. FILING         FOREIGN ACCOUNT              TOTAL INCOME
                YEAR              DATE                     REPORTED              REPORTED
                                                      (Sch. B, Line 7a)            (Line 22)
      1          2010        October 14,2011                 None                  $504,744
      2          2011        October 15, 2012                None                 $3,071,409
      3          2012        October 7,2013                  None                 $5,361,007
      4          2013        October 6,2014                  None                 $1,910,928
      5          2014        October 14,2015                 None                 $2,984,210

                        (26 U.S.C. § 7206(1); 18 U.S.C. §§ 2 and 3551 etsea.^
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                                     COUNTS SIX THROUGH TEN
                                      (Assisting in the Preparation of
                                   False United States Individual Income
                                  Tax Returns For 2010-2014 Tax Years)

47.        Paragraphs 1 through 44 are incorporated here.

48.         On or about the dates specified below, in the Eastern District of Virginia and elsewhere,

defendant RICHARD W. GATES III willfully and knowingly did aid and assist in, and procure,
counsel, and advise the preparation and presentation to the Internal Revenue Service, of a United

States Individual Income Tax Return, Form 1040 and Schedule B, of PAUL J. MANAFORT, JR.,

for the tax years set forth below, which returns were false and fraudulent as to a material matter,

inthat the returns (a) claimed that MANAFORT did not have a financial interest in, and signature

and other authority over, a financial account in a foreign country and (b) failed to report income,

whereas GATES then and there well knew and believed that MANAFORT had a financial interest

in, andsignature andother authority over, bank accounts in a foreign country andhadearned total

income in excess of the reported amounts noted below:

 COUNT             TAX         APPROX. FILING        FOREIGN ACCOUNT            TOTAL INCOME
                  YEAR               DATE               REPORTED                  REPORTED
                                                         (Sch. B, Line 7a)          (Line 22)
       6           2010         October 14, 2011              None                  $504,744
       7           2011         October 15, 2012              None                 $3,071,409
       8           2012         October 7, 2013               None                 $5,361,007
       9           2013         October 6, 2014               None                 $1,910,928
       10          2014         October 14, 2015              None                 $2,984,210
                              (26 U.S.C. § 7206(2); 18 U.S.C. § 3551 etsea.)

                              COUNTS ELEVEN THROUGH FOURTEEN
                          (Failure To File Reports Of Foreign Bank And Financial
                                 Accounts For Calendar Years 2011-2014)

49.        Paragraphs 1 through 44 are incorporated here.

50.        On the filing due dates listed below, in the Eastern District of Virginia and elsewhere,

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defendant PAUL J. MANAFORT, JR., unlawfully, willfully, and knowingly did fail to file with
the Treasury an FBAR disclosing that he had a financial interest in, and signature and other
authority over, a bank, securities, and other financial account in a foreign country, which had an
aggregate value of more than $10,000 in a 12-month period, during the years listed below:

                COUNT             YEAR               DUE DATE TO FILE FBi^
                   11              2011                    June   29,2012
                   12              2012                    June   30,2013
                   13              2013                    June   30,2014
                   14              2014                    June   30, 2015
                (31 U.S.C. §§ 5314 and 5322(a); 18 U.S.C. §§ 2 and 3551 etseo.^

                           COUNTS FIFTEEN THROUGH NINETEEN
                        (Subscribing to False United States Individual Income
                              Tax Returns For 2010-2014 Tax Years)

51.   Paragraphs 1 through 44 are incorporated here.

52.   On or about the dates specified below, in the Eastern District of Virginia and elsewhere,

defendant RICHARD W. GATES III willfully and knowingly did makeand subscribe, and aidand

abet and cause to be made and subscribed, United States Individual Income Tax Returns, Forms

1040 and Schedule B, for the tax years set forth below, which returns contained and were verified

by the written declaration of defendant GATES that they were made under penalties of perjury,

and which returns defendant GATES did not believe to be true and correct as to every material

matter, inthatthereturns (a)claimed thatGATES did nothave a financial interest in,and signature

and other authority over, a financial account in a foreign country and (b) failed to report income,

whereas GATES then and there well knew and believed that he had a financial interest in, and

signature and other authority over, a financial account in a foreign country and had earned total

income in excess of the reported amounts noted below:


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  COUNT          TAX          APPROX. FILING           FOREIGN ACCOUNT           TOTAL INCOME
                YEAR                DATE                   REPORTED                REPORTED
                                                         (Sch. B, Line 7a)          (Line 22)
      15         2010           July 26, 2011                 None                  $194,257
      16         2011          October 11,2012                None                  $250,307
      17         2012          October 15, 2013               None                  $365,646
      18         2013          October 15, 2014               None                  $307,363
      19         2014          October 14,2015                None                  $292,892
                        (26 U.S.C. § 7206(1); 18 U.S.C, §§ 2 and 3551 et sea.)

                                         COUNT TWENTY
                (Subscribing to a False Amended United States Individual Income
                                 Tax Retum For 2013 Tax Year)

53.    Paragraphs 1 through 44 are incorporated here.

54.    On or about October 25,2017, in the Eastern District of Virginia and elsewhere, defendant

RICHARD W. GATES III willfully and knowingly did make and subscribe, and aid and abet and

cause another to make andsubscribe, a United States Individual Income Tax Retum, Form 1040X,

for the 2013 tax year, which retum contained and was verified by the written declaration of

defendant GATES that it was madeunderpenalties of perjury, and whichretum defendant GATES

did not believe to be tme and correct as to every material matter, inthat the retum failed to report
income, whereas GATES then and there well knew and believed that hehad eamed adjusted gross

income in excess of the reported amount on Line IC, to wit: $292,055.

                      (26 U.S.C. § 7206(1); 18 U.S.C. §§ 2 and 3551 etseq.)

                   COUNTS TWENTY-ONE THROUGH TWENTY-THREE
                    (Failure To File Reports Of Foreign Bank And Financial
                           Accounts For Calendar Years 2011-2013)

55.   Paragraphs 1 through 44 are incorporated here.

56.   On the filing due dates listed below, in the Eastem District of Virginia and elsewhere,

defendant RICHARD W. GATES III unlawfully, willfully, and knowingly did fail to file with the
                                                  30
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Treasury an FBAR disclosing that he had a financial interest in, and signature authority over, a
bank, securities, and other financial account in a foreign country, which had an aggregate value of
more than $10,000 in a 12-month period, during the years listedbelow:


                COUNT            YEAR               DUE DATE TO FILE FBAR

                   21             2011                    June 29, 2012
                   22             2012                    June 30,2013
                   23            2013                     June 30, 2014

                (31 U.S.C. §§ 5314 and 5322(a); 18 U.S.C. §§ 2 and 3551 et sea.^

                                   COUNT TWENTY-FOUR
                     (Bank Fraud Conspiracy / Lender B / $3.4million loan)

57.   Paragraphs 1 through 44 are incorporated here.

58.   On or about and between December 2015 and March 2016, both dates being approximate

and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally conspire to

execute a scheme and artifice to defraud one or more financial institutions, to wit: Lender B, the

deposits of which were insured by the Federal Deposit Insurance Corporation, and to obtain

moneys, funds, and credits owned by and under the custody and control ofsuch financial institution

by means of materially false and fraudulent pretenses, representations, and promises, contrary to

Title 18, United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 et sea.^


                                   COUNT TWENTY-FIVE
                          (Bank Fraud / Lender B / $3.4 million loan)

59.   Paragraphs 1 through 44 are incorporated here.

60.   On or about and between December 2015 and March 2016, both dates being approximate
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and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally execute and
attempt to execute a scheme and artifice to defraud one or more financial institutions, to wit:
Lender B, the deposits ofwhich were insured by the Federal Deposit Insurance Corporation, and
toobtain moneys, funds, and credits owned by and under the custody and control ofsuch financial
institution by means ofmaterially false and fraudulent pretenses, representations, and promises.
                             (18 U.S.C. §§ 1344,2, and 3551 et sea.)

                                     COUNT TWENTY-SIX
                      (Bank Fraud Conspiracy / Lender C / $1 million loan)

61.   Paragraphs 1 through 44 are incorporated here.

62.   On or about and between March 2016 and May 2016, both dates being approximate and
inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES IIIdidknowingly and intentionally conspire to execute a scheme

and artifice to defi-aud one or more financial institutions, to wit: Lender C, the deposits ofwhich
were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, and
credits owned by and under the custody and control of such financial institution by means of

materially false and fi-audulent pretenses, representations, and promises, contrary to Title 18,

United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 etseq.)

                                    COUNT TWENTY-SEVEN
                           (Bank Fraud/ LenderC / $1 million loan)

63.   Paragraphs 1 through 44 are incorporated here.

64.   On or about and between December 2015 and March 2016, both dates being approximate

and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.
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MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally execute and
attempt to execute a scheme and artifice to defraud one or more financial institutions, to witi
Lender C, the deposits ofwhich were insured by the Federal Deposit Insurance Corporation, and
to obtain moneys, funds, and credits owned byand under the custody and control ofsuch financial

institution by means ofmaterially false and fraudulent pretenses, representations, and promises.
                             (18 U.S.C. §§ 1344,2, and 3551 etsea.^

                                    COUNT TWENTY-EIGHT
                     (Bank Fraud Conspiracy / Lender B / $5.5 million loan)
65.   Paragraphs 1 through44 are incorporated here.

66.   On orabout and between March 2016 and August 2016, both dates being approximate and
inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES IIIdidknowingly and intentionally conspire to execute a scheme

and artifice to defiraud one or more financial institutions, to wit: Lender B, the deposits of which

were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, and

credits owned by and under the custody and control of such financial institution by means of
materially false and fraudulent pretenses, representations, and promises, contrary to Title 18,

United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 etseq.^

                                    COUNT TWENTY-NINE
                     (Bank Fraud Conspiracy / Lender D / $9.5 million loan)

67.   Paragraphs 1 through 44 are incorporated here.

68.   On or about and between April 2016 and November 2016, both dates being approximate
and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally conspire to
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 execute a scheme and artifice to dejfraud one or more financial institutions, to wit: Lender D, the
 deposits of which were insured by the Federal Deposit Insurance Corporation, and to obtain
moneys, funds, and credits owned byand under thecustody and control ofsuch financial institution

by means ofmaterially false and fi-audulent pretenses, representations, and promises, contrary to
Title 18, United States Code, Section 1344.

                               (18 U.S.C. §§ 1349 and 3551 et seq.")

                                        COUNT THIRTY
                           (Bank Fraud / Lender D / $9.5 million loan)

69.    Paragraphs 1 through 44 are incorporated here.

70.    On or about and between April 2016 and November 2016, both dates being approximate
and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J,

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally execute and
attempt to execute a scheme and artifice to defraud one or more financial institutions, to wit:

Lender D, the deposits of which were insured by the Federal Deposit Insurance Corporation, and
to obtain moneys, funds, andcredits owned byand under thecustody and control of such financial

institution by means ofmaterially false and firaudulent pretenses, representations, and promises.
                              (18 U.S.C. § 1344, 2, and 3551 et sea.^

                                     COUNT THIRTY-ONE
                     (Bank Fraud Conspiracy / Lender D / $6.5 million loan)

71.   Paragraphs 1 through 44 are incorporated here.

72.   On or about and between April 2016 and January 2017, both dates being approximate and
inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES IIIdidknowingly and intentionally conspire to execute a scheme

and artifice to defraud one or more financial institutions, to wit: Lender D, the deposits of which
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 were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, and
 credits owned by and under the custody and control of such financial institution by means of
 materially false and fraudulent pretenses, representations, and promises, contrary to Title 18,
 United States Code, Section 1344.

                               (18 U.S.C. §§ 1349 and 3551 et seq.)

                                     COUNT THIRTY-TWO
                           (Bank Fraud / Lender D / $6.5 million loan)
73.    Paragraphs 1 through 44 are incorporated here.

74.    On or about and between April 2016 and January 2017, both dates being approximate and
inclusive, in the Eastern District ofVirginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES III did knowingly and intentionally execute and attempt to execute
ascheme and artifice to defraud one or more financial institutions, to wit: Lender D, the deposits
ofwhich were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds,
and credits owned by and under the custody and control ofsuch financial institution by means of
materially false and fraudulent pretenses, representations, and promises.

                             (18 U.S.C. §§ 1344,2, and3551 et seq.'^

                                     FORFEITURE NOTICF

75.   Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the United

States will seek forfeiture as part ofany sentence in accordance with Title 18, United States Code,
Section 982(a)(2), in the event ofthe defendants' convictions under Counts Twenty-Four through
Thirty-Two ofthis Superseding Indictment. Upon conviction ofthe offenses charged in Counts
Twenty-Four through Thirty-Two, defendants PAUL J. MANAFORT, JR., and RICHARD W.
GATES III shall forfeit to the United States any property constituting, or derived from, proceeds

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 obtained, directly or indirectly, as aresult ofsuch violation(s). Notice is further given that, upon
 conviction, the United States intends to seek ajudgment against each defendant for asum ofmoney
 representing the property described in this paragraph, as applicable to each defendant (to be offset
 by the forfeiture ofany specific property).
 76. The grand jury finds probable cause to believe that the property subject to forfeiture by
PAUL J. MANAFORT, JR., includes, but is not limited to, the following listed assets.*
               a. All funds held in account number XXXXXX0969 at Lender D, and any property
                    traceable thereto.


                                          Substitute Assets

77.    Ifany ofthe property described above as being subject to forfeiture, as aresult ofany act or
omission of any defendant

               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, athird party;
               c.       has been placed beyond thejurisdiction of thecourt;

               d.       has beensubstantially diminished in value; or

               e.       has been commingled with other property thatcannot besubdivided without

                        difficulty;

itis the intent ofthe United States ofAmerica, pursuant to Title 18, United States Code, Section
982(b) and Title 28, United States Code, Section 2461(c), incorporating Title 21, United States
Code, Section 853, to seek forfeiture of any other property of said defendant.

                                         (18U.S.C. §982)




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                                         Robert S. Mufeller, ffl
                                         Special Counsel
                                         Department ofJustice

 A TRUE BILL:
              eE-G(
              hispat
              illicCWsOfficc:

 Foreperson

 Date: February 22,2018




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